                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

         MICHAEL JAMES MOORE
         and RHONDA JEAN MOORE,                              Case No. 08-33980
                                                             Chapter 13 Proceeding
            Debtors.                                         Hon. Daniel S. Opperman
_____________________________________/

   SCHEDULING ORDER REGARDING UNITED STATES TRUSTEE’S MOTION FOR
   ORDER AUTHORIZING EXAMINATION OF GREEN TREE SERVICING, LLC AND
  REQUIRING PRODUCTION OF DOCUMENTS PURSUANT TO FED. R. BANKR. 2004

         Pursuant to this Court’s Opinion Regarding the United States Trustee’s Motion for Order

Authorizing Examination of Green Tree Servicing, LLC and Requiring Production of

Documents Pursuant to Federal Rule of Bankruptcy Procedure 2004, the Court has determined

that Briefs on the issue of mootness are necessary for a determination of this matter;

         ACCORDINGLY, IT IS HEREBY ORDERED that the United States Trustee and Green

Tree Servicing, LLC, shall file Briefs within 21 days of the date of entry of this Order;

         IT IS FURTHER ORDERED that responsive Briefs may be filed within 14 days

thereafter.
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Signed on September 18, 2015
                                                        /s/ Daniel S. Opperman
                                                      Daniel S. Opperman
                                                      United States Bankruptcy Judge




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